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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7       IN RE META PIXEL HEALTHCARE                        Case No. 22-cv-03580-WHO (VKD)
                                           LITIGATION
                                   8       This Document Relates To:                          DISCOVERY SCHEDULING ORDER
                                   9       All Actions.

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                                  12
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                                  13            To facilitate the timely completion of fact discovery before class certification briefing, this

                                  14   order sets interim deadlines for the exchange of information regarding the production of ESI, the

                                  15   exchange of privilege logs, and the substantial completion of document production. The deadlines

                                  16   set below may be modified by agreement of the parties by means of a stipulated request and

                                  17   proposed order, or by the Court upon a showing of good cause.1

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                                  19       Producing party discloses custodial and non-custodial ESI data               June 19, 20232
                                           sources, per ESI Protocol
                                  20
                                           If using search terms, producing party discloses search terms, per           June 23, 20233
                                  21       ESI Protocol
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                                  24     The party moving for a modification based on good cause should file an administrative motion
                                       that complies with Civil L.R. 7-11.
                                  25   2
                                         The Court understands that plaintiffs have already served comprehensive document requests on
                                  26   Meta, and Meta has served written responses. If no document requests have been served on a
                                       party, that party’s deadline to disclose ESI data sources is 40 days from the date of service of the
                                  27   requesting party’s document requests.

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                                        If no document requests for production have been served on a party, that party’s deadline to
                                       disclose search terms (if used) is 7 days after it discloses its ESI data sources.
                                   1     Parties exchange first interim privilege logs                             September 1, 2023

                                   2     Parties exchange second interim privilege logs                             December 1, 2023
                                   3     Parties substantially complete document production                        December 22, 2023
                                   4     Parties exchange final privilege logs                                      February 2, 2024
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                                   6          The Court expects the parties to produce documents on a rolling basis; they must not delay

                                   7   their production until the substantial completion deadline. As a general matter, the Court also

                                   8   expects the parties to produce documents before taking depositions of party witnesses or former

                                   9   employees of a party. In particular, the parties should take steps to ensure that the production of

                                  10   documents for which a witness is the custodian is substantially complete before that witness is

                                  11   deposed.

                                  12          The parties must confer about the form and content of their privilege logs sufficiently in
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                                  13   advance of the deadline for the exchange of first interim privilege logs so that any disputes about

                                  14   the form and content of the log can be resolved before the deadline.

                                  15          The Court expects plaintiffs in the Healthcare, Tax, and DMV cases to cooperate with

                                  16   Meta with respect to Meta’s production of documents regarding subject matter common to all

                                  17   cases. However, the Court will not require plaintiffs in the Healthcare, Tax, and DMV cases to

                                  18   serve coordinated “global” requests for discovery on Meta. Rather, the burden to identify subject

                                  19   matter common to all cases lies with Meta in the first instance. If Meta identifies documents that

                                  20   are relevant and responsive to document requests served in all three cases, it may produce an

                                  21   identical set of such documents in each of the three cases, in addition to its case-specific document

                                  22   productions. Meta should avoid producing documents that are relevant to only one case in other

                                  23   cases to which the documents are not relevant.

                                  24          The parties in the Healthcare, Tax, and DMV cases must use their best efforts to coordinate

                                  25   the scheduling of depositions of Meta’s current and former employees whose testimony is relevant

                                  26   to all three cases so as to minimize the burden and inconvenience for the witness. For example, if

                                  27   plaintiffs in one case notice the deposition of a Meta witness who Meta believes may provide

                                  28   testimony relevant to all three cases, Meta may so advise plaintiffs in the other cases and request
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                                   1   that all plaintiffs coordinate with each other and with Meta in scheduling the witness’s deposition.

                                   2   The parties shall also discuss other reasonable measures to minimize the burden and

                                   3   inconvenience for a given witness, including measures to avoid the taking of duplicative testimony

                                   4   by different plaintiffs.

                                   5           IT IS SO ORDERED.

                                   6   Dated: May 25, 2023

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                                                                                                    VIRGINIA K. DEMARCHI
                                   9                                                                United States Magistrate Judge
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